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United States District Court

SOUTHERN DISTRICT ()F INDIANA

UNITED STATES 0F AMERICA
CRIMINAL COMPLAINT

V.

JOSE ESPINOZA_CRUZ CASE NUMBER: l:lS-mj-OO919

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge and belief.

Count One: On or about September 6, 2018, in Monroe County, in the Southern District of Indiana, Jose Espinoza-Cruz, after
having been previously deported and removed from the United States subsequent to an aggravated felony, was found, without the
Attorney General of the United States or his successor, the Secretary of Homeland Security, having expressly given consent to the
defendant’s reapplying for admission into the United States; in violation of Title 8, United States Code, Sections 1326(a) & (b)(Z).

l further state that l am a Deportation Officer, and that this complaint is based on the following facts:

SEE ATTACHED AFFIDAVIT

Continued on the attached sheet and made a part hereof.

ima/dranow

Deportatio flicer Jillian M. Tremble, ICE

Sworn to before me, and subscribed in my presence

 

September 26, 2018 at Indianapolis, Indiana
Date ' " "-`_

Doris L. Pryor, U.S. Magistrate Judge y 652
MM ll

Name and Title of Judicial Officer Signature of Judicl}l ij>l`c`l?i/: \

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AFFIDAVIT

I, Jillian M. Tremble, being duly sworn upon oath, state as follows:

l. l am a Deportation Officer with the Department of Homeland Security,
Immigration and Customs Enforcement (“DHS/ICE”) and have been so employed since May
2009. I am currently assigned to the Fugitive Operations Unit and the Violent Criminal Alien
Section in Indianapolis, Indiana. My duties include investigating immigration violations, such as
aliens who have illegally re-entered the United States.

2. The following information is based upon my personal knowledge or information
provided to me by other law enforcement personnel and DHS/ICE records pertaining to the
defendant, Jose ESPINOZA-CRUZ (hereinafter, “ESPINOZA-CRUZ”). This affidavit is
submitted in support of a complaint for the arrest of ESPINOZA-CRUZ for violation of 8 U.S.C.
§§ 1326(a) and (b)(Z). It does not include each and every fact known to me about the
investigation, but rather only those facts that l believe are sufficient to establish the requisite
probable cause.

3. ESPINOZA-CRUZ is a citizen of Mexico by birth, having been born in
Guanajuato, MeXico, on May 14, 1984.

4. On September l, 2018, the Bloomington Police Department arrested ESPINOZA-
CRUZ for Domestic Battery and transported him to the Monroe County Jail at 301 North
College Avenue, Bloomington, Indiana, which is located within the Southern District of Indiana.

5. On September 6, 2018, DHS/ICE Deportation Officers received information from
the Monroe County Sheriff Department regarding an individual in their custody identified as

Jose ESPINOZA-CRUZ.

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6. A law enforcement database check was run on ESPINOZA-CRUZ, and revealed
the following criminal and immigration records:

7. On or about August 30, 2005, ESPINOZA-CRUZ pled guilty in the Waushara
(Wisconsin) County Court to felony Manufacture/Delivery of Cocaine in violation of Wis. Stat.
§ 961.41(1)(cm)(4). He was sentenced to 4 years imprisonment

8. On February 28, 2007, ESPlNOZA-CRUZ was issued an Administrative
Deportation Order (1-851).

9. On March 7, 2007, pursuant to the Administrative Deportation Order,
ESPINOZA-CRUZ was removed to MeXico.

10. DHS/ICE maintains an indexing on all aliens identified by alien registration
number. This record is available to me and is file number A 097 838 015, in the name of Jose
ESPINOZA-CRUZ, born May l4, 1984.

ll. DHS/ICE records indicate that ESPINOZA-CRUZ is a citizen of MeXico, and he
has not obtained permission from the Attorney General, or his successor the Secretary of

Homeland Security, to reapply for admission to the United States.

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12. Based on the foregoing, there is probable cause to believe that on or about
September 6, 2018, ESPINOZA-CRUZ violated 8 U.S.C. §§ 1326(a) and (b)(2).

AFFIANT FURTHER SAYETH NOT.

Q{/L@ww rlme
Jilliail/rremble
Deportation Officer

v 'L. z W(/ ` ..
Subscribed and sworn to before me on this @Z’i"day of September, 2018.

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Hofi. Doris L. Pryor -I;:
United Sta;ces Magistrate~.`ludge
Southern Di`s,t‘rict'bf indiana

